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 8                         UNITED STATES DISTRICT COURT
 9                        EASTERN DISTRICT OF CALIFORNIA
10

11   SECURITIES AND EXCHANGE              )   Case No. 2:22-CV-01726-DB
     COMMISSION,                          )
12                                        )
                        Plaintiff,        )   ORDER REASSIGNING
13                                        )   RELATED_CASES
          v.                              )
14                                        )
     ARI J. LAUER                         )
15                                        )
                        Defendant.        )
16                                        )
                                          )
17
     SECURITIES AND EXCHANGE          )       Case No. 2:20-CV-00180-JAM-DB
18   COMMISSION,                      )
                                      )
19                     Plaintiff,     )
                                      )
20        v.                          )
                                      )
21   JEFFREY P. CARPOFF and PAULETTE )
     CARPOFF,                         )
22                                    )
                       Defendants.    )
23   ________________________________ )
                                      )
24   UNITED STATES OF AMERICA,        )       Case No. 2:19-CV-00247-JAM-DB
     et al.,                          )
25                                    )
                       Plaintiffs,    )
26                                    )
          v.                          )
27                                    )
     REAL PROPERTY LOCATED AT 725     )
28   MAIN STREET, MARTINEZ,           )
     CALIFORNIA, CONTRA COSTA COUNTY, )

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         Case 2:20-cr-00003-DAD Document 59 Filed 12/14/22 Page 2 of 5


 1   APN: 373-192-007-4, INCLUDING        )
     ALL APPURTENANCES AND                )
 2   IMPROVEMENTS THERETO, et al.,        )
                                          )
 3                      Defendants.       )
                                          )
 4   ________________________________     )
     UNITED STATES OF AMERICA,            )   Case No. 2:19-CV-00485-JAM-DB
 5   et al.,                              )
                                          )
 6                       Plaintiffs,      )
                                          )
 7        v.                              )
                                          )
 8   APPROXIMATELY $6,567,897.50          )
     SEIZED FROM CTBC BANK, ACCOUNT       )
 9   NUMBER 3800191916, et al.,           )
                                          )
10                       Defendants.      )
                                          )
11   UNITED STATES OF AMERICA,            )   Case No. 2:19-CV-00636-JAM-DB
     et al.,                              )
12                                        )
                         Plaintiffs,      )
13                                        )
          v.                              )
14                                        )
     5383 STONEHURST DRIVE, MARTINEZ,     )
15   CALIFORNIA, CONTRA COSTA COUNTY,     )
     APN: 367-230-018-7, INCLUDING        )
16   ALL APPURTENANCES AND                )
     IMPROVEMENTS THERETO, et al.,        )
17                                        )
                         Defendants.      )
18                                        )
     UNITED STATES OF AMERICA,            )   Case No. 2:19-CR-00182-DAD
19                                        )
                         Plaintiff,       )
20                                        )
          v.                              )
21                                        )
     RONALD J. ROACH, and JOSEPH W.       )
22   BAYLISS,                             )
                                          )
23                       Defendants.      )
                                          )
24                                        )   Case No. 2:19-CV-02140-JAM-DB
     SECURITIES AND EXCHANGE              )
25   COMMISSION,                          )
                                          )
26                       Plaintiff,       )
                                          )
27        v.                              )
                                          )
28   JOSEPH BAYLISS and RONALD ROACH,     )
                                          )

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         Case 2:20-cr-00003-DAD Document 59 Filed 12/14/22 Page 3 of 5


 1                     Defendants.        )
     UNITED STATES OF AMERICA,            )   Case No. 2:19-CR-00222-JAM
 2                                        )
                         Plaintiff,       )
 3                                        )
          v.                              )
 4                                        )
     ROBERT A. KARMANN,                   )
 5                                        )
                         Defendant.       )
 6                                        )
     SECURITIES AND EXCHANGE              )   Case No. 2:19-CV-02531-JAM-DB
 7   COMMISSION,                          )
                                          )
 8                       Plaintiff,       )
                                          )
 9        v.                              )
                                          )
10   ROBERT A. KARMANN,                   )
                                          )
11                       Defendant.       )
                                          )
12                                        )
     UNITED STATES OF AMERICA,            )   Case No. 2:20-CR-00017-JAM
13                                        )
                         Plaintiff,       )
14                                        )
          v.                              )
15                                        )
     JEFF CARPOFF,                        )
16                                        )
                         Defendant.       )
17                                        )
     UNITED STATES OF AMERICA,            )   Case No. 2:20-CR-00018-JAM
18                                        )
                         Plaintiff,       )
19                                        )
          v.                              )
20                                        )
     PAULETTE CARPOFF,                    )
21                                        )
                         Defendant.       )
22                                        )
     UNITED STATES OF AMERICA,            )   Case No. 2:20-CR-00003-DAD
23                                        )
                         Plaintiff,       )
24                                        )
          v.                              )
25                                        )
     RYAN GUIDRY,                         )
26                                        )
                         Defendant.       )
27

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         Case 2:20-cr-00003-DAD Document 59 Filed 12/14/22 Page 4 of 5


 1
     UNITED STATES OF AMERICA,        )       Case No. 2:20-CR-00016-JAM
 2                                    )
                       Plaintiff,     )
 3                                    )
          v.                          )
 4                                    )
     ALAN HANSEN,                     )
 5                                    )
                       Defendant.     )
 6                                    )
     SOLARMORE MANAGEMENT SERVICES,   )       Case No. 2:19-CV-02544-DAD-DB
 7   INC., a California corporation, )
                                      )
 8                     Plaintiff,     )
                                      )
 9        v.                          )
                                      )
10   Bankruptcy Estate of DC SOLAR    )
     SOLUTIONS, INC., dba DC SOLAR    )
11   SOLUTIONS MFG, INC. dba DC SOLAR )
     SOLUTIONS MANUFACTURING, INC., a )
12   California corporation; et al., )
                                      )
13                     Defendants.    )
                                      )
14   SOLARMORE MANAGEMENT SERVICES,   )       Case No. 2:20-CV-02446-DAD-DB
     INC., a California corporation; )
15   CARL AND BARBARA JANSEN, a       )
     married couple,                  )
16                                    )
                       Plaintiffs,    )
17                                    )
          v.                          )
18                                    )
     NIXON PEABODY, LLP, a New York   )
19   limited liability partnership;   )
     FORREST DAVID MILDER, a married )
20   individual,                      )
                                      )
21                     Defendants.    )
                                      )
22

23
          On December 2, 2022, this Court ordered that the above-
24
     entitled actions be related within the meaning of Local Rule 123
25
     (E.D. Cal. 2005).
26
          IT IS NOW ORDERED that the presiding role in the actions
27
     denominated 2:22-CV-01726-DB, 2:20-cv-00180 JAM DB, 2:19-cv-00247
28
     JAM DB, 2:19-cv-00485 JAM DB, 2:19-cv-00636 JAM DB, 2:19-cv-

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         Case 2:20-cr-00003-DAD Document 59 Filed 12/14/22 Page 5 of 5


 1   02140 JAM DB, 2:19-cr-00222 JAM, 2:19-cv-02531 JAM DB, 2:20-cr-

 2   00017 JAM, 2:20-cr-00018 JAM, 2:20-cr-00016 JAM and 2:19-cv-02544

 3   JAM DB be reassigned to Judge Dale A. Drozd for all further

 4   proceedings, and that any dates currently set in the reassigned

 5   cases be VACATED.    Henceforth, the caption on documents filed in

 6   the reassigned case shall be shown as 2:22-CV-01726-DAD DB, 2:20-

 7   cv-00180 DAD DB, 2:19-cv-00247 DAD DB, 2:19-cv-00485 DAD DB, 2:19-

 8   cv-00636 DAD DB, 2:19-cv-02140 DAD DB, 2:19-cr-00222 DAD, 2:19-cv-

 9   02531 DAD DB, 2:20-cr-00017 DAD, 2:20-cr-00018 DAD, 2:20-cr-00016

10   DAD and 2:19-cv-02544 DAD DB.

11        IT IS FURTHER ORDERED that the Clerk of the Court make

12   appropriate adjustment in the assignment of civil cases to

13   compensate for this reassignment.

14        IT IS SO ORDERED.

15

16   Dated:   December 13, 2022         /s/ John A. Mendez
17                                      THE HONORABLE JOHN A. MENDEZ
                                        SENIOR UNITED STATES DISTRICT JUDGE
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